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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 17-cv-60426-UU

      ALEKSEJ GUBAREV, XBT HOLDING S.A.
      AND WEBZILLA, INC.

            Plaintiffs,

      vs.

      BUZZFEED, INC. AND BEN SMITH,

        Defendants.
                                                       /



               I, K-^                               hereby acknowledge that as a condition of being given

     access to Confidential Information, as these terms are defined in the Confidentiality Stipulation

     and Protective Order in effect in this action, I am required to agree to certain restrictions on any

     use of such Confidential Information; that such Confidential Information is governed by the

     Confidentiality Stipulation and Protective Order, which I have read; and I hereby agree to be bound

     by the terms of that Confidentiality Stipulation and Protective Order, including any penalties for

     breach of its confidentiality provisions.



                                            Signature:

                                            Print Name:                         i hJ

                                            Date:           2-hn'g_____




                                                                                            I PLAINTIFF’S
                                                                                            1/7) EXHIBIT ^
                                                                                            I i?Jn^nc^r ^
